                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                3:07cr61-2


UNITED STATES OF AMERICA,                          )
                                                   )
                                                   )
Vs.                                                )              ORDER
                                                   )
EMMANUEL ELLIS KELLER,                             )
                                                   )
                 Defendant.                        )
_______________________________                    )

        THIS MATTER is before the court on defendant’s letter (#583) requesting

appointment of new counsel. The court can find no basis for allowing the request as counsel

has filed an extensive sentencing memorandum accompanied by substantial exhibits well in

advance of the hearing, all of which the court is in the process of considering. As far as

defendant’s request to be transferred back to the district to meet with counsel, it appears that

defendant is presently at Butner Low, which is a short drive from Charlotte, and defense

counsel is authorized to travel to such location for purposes of preparing for resentencing.

                                           ORDER

        IT IS, THEREFORE, ORDERED that defendant’s letter, deemed to be a Motion

for New Counsel (#583), is DENIED.



                                               Signed: March 27, 2012




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